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                   THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                    HON. JEROME B. SIMANDLE

              v.                            Criminal No. 03-354 (JBS)

 WILLIAM OSCAR HARRIS,
                                                         ORDER
              Defendant.


      This matter having come before the Court on Defendant’s

 motion to terminate his contempt sentence [Docket Item 511]; the

 Court having considered the submissions of the parties in support

 thereof and opposition thereto; for the reasons explained in the

 Opinion of today’s date; and for good cause shown;

      IT IS this           20th         day of February, 2008 hereby

      ORDERED that Defendant’s motion to terminate his sentence

 for civil contempt shall be and hereby is DENIED.




                                           s/ Jerome B. Simandle
                                          JEROME B. SIMANDLE
                                          United States District Judge
